 1    DINA L. ANDERSON
      Chapter 7 Trustee
 2    21001 N. Tatum Blvd., #1630-608
      Phoenix, AZ 85050
 3
      Email: General@DLATrustee.com
 4    Telephone: (480) 304-8312

 5
                             IN THE UNITED STATES BANKRUPTCY COURT
 6                                 FOR THE DISTRICT OF ARIZONA

 7    In Re:                                        )   Case No. 16-00639-DPC
      Jason Dominic LeVecke                         )   Case No. 16-00640-DPC
 8    Andrea Yvette LeVecke;                        )   (Jointly Administered)
                                                    )
 9    In Re:                                        )   Chapter 7
10    Carl Damien LeVecke                           )
      Neisha Nadine LeVecke,                        )   REPORT OF TRUSTEE’S
11                                                  )   SALE OF REAL PROPERTY
                                    Debtors.        )
12
             Dina L. Anderson, Chapter 7 Trustee herein (“Trustee”), makes this Report of Sale of
13
      certain real property of the bankruptcy estate pursuant to the Order Granting Trustee’s Motion
14
      for Approval of Sale of Real Property Free and Clear of All Liens signed on August 15, 2016 at
15

16    Docket Entry No. 273:

17    PURCHASER:              Bruce Bletsh

18    DESCRIPTION OF ASSETS SOLD:                Real property generally described as 8826 S. 20th
      Place, Phoenix, Arizona 85042, Assessor’s Parcel No. 301-36-106-6
19
      PRICE: $310,000.00
20
             The Trustee reports that she has received payment of the purchase price shown above,
21
      less closing costs, customary expenses, and commissions, as shown in the Final Settlement
22

23    Statement attached hereto as Exhibit A.

24    Dated: July 17, 2018                               /s/ Dina L. Anderson
                                                         Chapter 7 Trustee
25




     Case 2:16-bk-00639-DPC          Doc 481 Filed 107/17/18 Entered 07/17/18 15:00:51           Desc
                                      Main Document     Page 1 of 5
                               EXHIBIT “A”

Case 2:16-bk-00639-DPC   Doc 481 Filed 07/17/18 Entered 07/17/18 15:00:51   Desc
                          Main Document    Page 2 of 5
Case 2:16-bk-00639-DPC   Doc 481 Filed 07/17/18 Entered 07/17/18 15:00:51   Desc
                          Main Document    Page 3 of 5
Case 2:16-bk-00639-DPC   Doc 481 Filed 07/17/18 Entered 07/17/18 15:00:51   Desc
                          Main Document    Page 4 of 5
Case 2:16-bk-00639-DPC   Doc 481 Filed 07/17/18 Entered 07/17/18 15:00:51   Desc
                          Main Document    Page 5 of 5
